Case 23-00047-pmm       Doc 46    Filed 09/03/24 Entered 09/03/24 10:29:28       Desc Main
                                 Document     Page 1 of 30



                     UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                       :
In re:                                 :         Chapter 7
                                       :
MIDNIGHT MADNESS DISTILLING            :         Bankruptcy No. 21-11750 (MDC)
LLC.                                   :
                      Debtor.          :
                                       :
                                       :
BONNIE B. FINKEL, in her capacity as   :
Chapter 7 Trustee for Midnight Madness :
Distilling, LLC.                       :         Adv. Pro. No. 23-00047 (MDC)
                                       :
                      Plaintiff.       :
Vs.                                    :
                                       :
CASEY PARZYCH; SHAWN SHEEHAN; :
ANGUS RITTENBURG; KELLY FESTA; :
ASHLEIGHT BALDWIN; MICHAEL             :
BOYER; R.F. CULBERTSON; GARY           :
PARZYCH; RYAN USZENSKI;                :
POLEBRIDGE, LLC; GOOD DESIGN,          :
INC; AGTECH PA LLC; AGTECH VI,         :
LLC; XO ENERGY WORLDWIDE, LLP; :
XO EW, LLC; CAN MAN LLC; BEST          :
BEV, LLC; ETOH WORLDWIDE, LLC; :
CANVAS 340, LLC; FINLAND LEASING :
CO., INC. and EUGENE T. PARZYCH,       :
INC.                                   :
                                       :
                      Defendants       :
                                       :


                        ANSWER AND AFFIRMATIVE DEFENSES

       Defendants, Gary Parzych, Ryan Uszenski, Can Man, LLC, Finland Leasing Co, Inc. and

Eugene T. Parzych, Inc. (collectively, the “Answering Defendants”), by and through their

undersigned counsel, hereby file their answer to the Plaintiff’s amended complaint (the

“Complaint”) and respectfully aver as follows:
Case 23-00047-pmm          Doc 46    Filed 09/03/24 Entered 09/03/24 10:29:28                 Desc Main
                                    Document     Page 2 of 30



        1.      Answering Defendants admit that the plaintiff has commenced this adversary

proceeding and deny the remaining allegations contained in paragraph 1 of the Complaint.

        2.      Answering Defendants deny the allegation contained in paragraph 2 of the

Complaint.

        3.      Answering Defendants deny the allegation contained in paragraph 3 of the

Complaint.

        4.      Answering Defendants deny the allegation contained in paragraph 4 of the

Complaint.

        5.      Answering Defendants admit that the plaintiff has demanded a jury trial and assert

that this Court lacks jurisdiction to conduct a jury trial with respect to all or a portion of plaintiff’s

claims for relief.

        6.      Answering Defendants deny the allegation contained in paragraph 6 of the

Complaint.

        7.      Answering Defendants admit the allegation contained in paragraph 7 of the

Complaint.

        8.      Answering Defendants admit the allegation contained in paragraph 8 of the

Complaint.

        9.      Answering Defendants admit the allegation contained in paragraph 9 of the

Complaint.

        10.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 10 of the Complaint.

        11.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 11 of the Complaint.
Case 23-00047-pmm        Doc 46    Filed 09/03/24 Entered 09/03/24 10:29:28          Desc Main
                                  Document     Page 3 of 30



       12.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 12 of the Complaint.

       13.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 13 of the Complaint.

       14.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 14 of the Complaint.

       15.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 15 of the Complaint.

       16.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 16 of the Complaint.

       17.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 17 of the Complaint.

       18.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 18 of the Complaint.

       19.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 19 of the Complaint.

       20.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 20 of the Complaint.

       21.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 21 of the Complaint.

       22.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 22 of the Complaint.
Case 23-00047-pmm        Doc 46    Filed 09/03/24 Entered 09/03/24 10:29:28          Desc Main
                                  Document     Page 4 of 30



       23.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 23 of the Complaint.

       24.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 24 of the Complaint.

       25.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 25 of the Complaint.

       26.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 26 of the Complaint.

       27.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 27 of the Complaint.

       28.     Answering Defendants admit the allegation contained in paragraph 28 of the

Complaint.

       29.     Answering Defendants admit the allegation contained in paragraph 29 of the

Complaint.

       30.     Answering Defendants admit the allegation contained in paragraph 30 of the

Complaint.

       31.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 31 of the Complaint.

       32.     Answering Defendants deny the allegation contained in paragraph 32 of the

Complaint.

       33.     Answering Defendants deny the allegation contained in paragraph 33 of the

Complaint.
Case 23-00047-pmm        Doc 46    Filed 09/03/24 Entered 09/03/24 10:29:28             Desc Main
                                  Document     Page 5 of 30



       34.     Answering Defendants admit the allegation contained in paragraph 34 of the

Complaint.

       35.     Answering Defendants admit the allegation contained in paragraph 35 of the

Complaint.

       36.     Answering Defendants admit the allegation contained in paragraph 36 of the

Complaint.

       37.     Answering Defendants deny the allegation contained in paragraph 37 of the

Complaint.

       38.     Paragraph 28 of the Complaint is definitional and, as such, no response is required.

       39.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 39 of the Complaint.

       40.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 40 of the Complaint.

       41.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 41 of the Complaint.

       42.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 42 of the Complaint.

       43.     Answering Defendants deny the allegation contained in paragraph 43 of the

Complaint.

       44.     Answering Defendants deny the allegation contained in paragraph 44 of the

Complaint.

       45.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 45 of the Complaint.
Case 23-00047-pmm        Doc 46    Filed 09/03/24 Entered 09/03/24 10:29:28          Desc Main
                                  Document     Page 6 of 30



       46.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 46 of the Complaint.

       47.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 47 of the Complaint.

       48.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 48 of the Complaint.

       49.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 49 of the Complaint.

       50.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 50 of the Complaint.

       51.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 51 of the Complaint.

       52.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 52 of the Complaint.

       53.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 53 of the Complaint.

       54.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 54 of the Complaint.

       55.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 55 of the Complaint.

       56.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 56 of the Complaint.
Case 23-00047-pmm        Doc 46    Filed 09/03/24 Entered 09/03/24 10:29:28          Desc Main
                                  Document     Page 7 of 30



       57.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 57 of the Complaint.

       58.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 58 of the Complaint.

       59.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 59 of the Complaint.

       60.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 60 of the Complaint.

       61.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 61 of the Complaint.

       62.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 62 of the Complaint.

       63.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 63 of the Complaint.

       64.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 64 of the Complaint.

       65.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 65 of the Complaint.

       66.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 66 of the complaint.

       67.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 67 of the Complaint.
Case 23-00047-pmm        Doc 46    Filed 09/03/24 Entered 09/03/24 10:29:28          Desc Main
                                  Document     Page 8 of 30



       68.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 68 of the Complaint.

       69.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 69 of the Complaint.

       70.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 70 of the Complaint.

       71.     Answering Defendants deny the allegation contained in paragraph 71 of the

Complaint.

       72.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 72 of the Complaint.

       73.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 73 of the Complaint.

       74.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 74 of the Complaint.

       75.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 75 of the Complaint.

       76.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 76 of the Complaint.

       77.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 77 of the Complaint.

       78.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 78 of the Complaint.
Case 23-00047-pmm        Doc 46    Filed 09/03/24 Entered 09/03/24 10:29:28          Desc Main
                                  Document     Page 9 of 30



       79.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 79 of the Complaint.

       80.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 80 of the Complaint.

       81.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 81 of the Complaint.

       82.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 82 of the Complaint.

       83.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 83 of the Complaint.

       84.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 84 of the Complaint.

       85.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 85 of the Complaint.

       86.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 86 of the complaint.

       87.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 87 of the Complaint.

       88.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 88 of the Complaint.

       89.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 89 of the Complaint.
Case 23-00047-pmm        Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28         Desc Main
                                  Document      Page 10 of 30



       90.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 90 of the Complaint.

       91.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 91 of the Complaint.

       92.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 92 of the Complaint.

       93.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 93 of the Complaint.

       94.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 94 of the Complaint.

       95.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 95 of the Complaint.

       96.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 96 of the complaint.

       97.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 97 of the Complaint.

       98.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 98 of the Complaint.

       99.     Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 99 of the complaint.

       100.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 100 of the Complaint.
Case 23-00047-pmm        Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28         Desc Main
                                  Document      Page 11 of 30



       101.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 101 of the Complaint.

       102.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 102 of the Complaint.

       103.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 103 of the Complaint.

       104.    Answering Defendants deny the allegation contained in paragraph 104 of the

Complaint.

       105.    Answering Defendants deny the allegation contained in paragraph 105 of the

Complaint.

       106.    Answering Defendants deny the allegation contained in paragraph 106 of the

Complaint.

       107.    Answering Defendants deny the allegation contained in paragraph 107 of the

Complaint.

       108.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 108 of the Complaint.

       109.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 109 of the Complaint.

       110.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 110 of the Complaint.

       111.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 111 of the Complaint.
Case 23-00047-pmm        Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28         Desc Main
                                  Document      Page 12 of 30



       112.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 112 of the Complaint.

       113.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 113 of the Complaint.

       114.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 114 of the Complaint.

       115.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 115 of the Complaint.

       116.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 116 of the Complaint.

       117.    Answering Defendants admit the allegation contained in paragraph 117 of the

Complaint.

       118.    Answering Defendants deny the allegation contained in paragraph 118 of the

Complaint.

       119.    Answering Defendants deny the allegation contained in paragraph 119 of the

Complaint.

       120.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 120 of the Complaint.

       121.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 121 of the Complaint.

       122.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 122 of the Complaint.
Case 23-00047-pmm        Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28         Desc Main
                                  Document      Page 13 of 30



       123.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 123 of the Complaint.

       124.    Answering Defendants deny the allegation contained in paragraph 124 of the

Complaint.

       125.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 125 of the Complaint.

       126.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 126 of the Complaint.

       127.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 127 of the Complaint.

       128.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 128 of the Complaint.

       129.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 129 of the Complaint.

       130.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 130 of the Complaint.

       131.    Answering Defendants admit that the Sale Motion (as defined in the complaint)

was filed and lack knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in paragraph 131 of the Complaint.

       132.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 132 of the Complaint.

       133.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 133 of the Complaint.
Case 23-00047-pmm        Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28         Desc Main
                                  Document      Page 14 of 30



       134.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 134 of the Complaint.

       135.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 135 of the Complaint.

       136.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 136 of the Complaint.

       137.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 137 of the Complaint.

       138.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 138 of the Complaint.

       139.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 139 of the Complaint.

       140.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 140 of the Complaint.

       141.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 141 of the Complaint.

       142.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 142 of the Complaint.

       143.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 143 of the Complaint.

       144.    Answering Defendants admit the allegation contained in paragraph 144 of the

Complaint.
Case 23-00047-pmm        Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28         Desc Main
                                  Document      Page 15 of 30



       145.    Answering Defendants deny the allegation contained in paragraph 145 of the

Complaint.

       146.    Answering Defendants admit the allegation contained in paragraph 146 of the

Complaint.

       147.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 147 of the Complaint.

       148.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 148 of the Complaint.

       149.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 149 of the Complaint.

       150.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 150 of the Complaint and specifically deny

any destruction of records.

       151.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 151 of the Complaint.

       152.    Answering Defendants deny the allegation contained in paragraph 152 of the

Complaint.

       153.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 153 of the Complaint.

       154.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 154 of the Complaint.

       155.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 155 of the Complaint.
Case 23-00047-pmm        Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28         Desc Main
                                  Document      Page 16 of 30



       156.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 156 of the Complaint.

       157.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 157 of the Complaint.

       158.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 158 of the Complaint.

       159.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 159 of the Complaint.

       160.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 160 of the Complaint.

       161.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 161 of the Complaint.

       162.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 162 of the Complaint.

       163.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 163 of the Complaint.

       164.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 164 of the Complaint.

       165.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 165 of the Complaint.

       166.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 166 of the Complaint.
Case 23-00047-pmm        Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28         Desc Main
                                  Document      Page 17 of 30



       167.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 167 of the Complaint.

       168.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 168 of the Complaint.

       169.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 169 of the Complaint.

       170.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 170 of the Complaint.

       171.    Answering Defendants deny the allegation contained in paragraph 171 of the

Complaint.

       172.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 172 of the Complaint.

       173.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 173 of the Complaint.

       174.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 174 of the Complaint.

       175.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 175 of the Complaint.

       176.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 176 of the Complaint.

       177.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 177 of the Complaint.
Case 23-00047-pmm        Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28         Desc Main
                                  Document      Page 18 of 30



       178.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 178 of the Complaint.

       179.    Answering Defendants admit the allegation contained in paragraph 179 of the

Complaint.

       180.    Answering Defendants admit the allegation contained in paragraph 180 of the

Complaint.

       181.    Answering Defendants deny the allegation contained in paragraph 181 of the

Complaint, which refer to a writing, the terms of which speak for themselves

       182.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 182 of the Complaint.

       183.    Answering Defendants deny the allegations contained in paragraph 183 of the

Complaint.

       184.    Answering Defendants deny the allegation contained in paragraph 184 of the

Complaint.

       185.    Answering Defendants deny the allegation contained in paragraph 185 of the

Complaint, which refers to a writing, the terms of which speak for themselves.

       186.    Answering Defendants deny the allegation contained in paragraph 186 of the

Complaint.

       187.    Answering Defendants deny the allegation contained in paragraph 187 of the

Complaint.

       188.    Answering Defendants deny the allegations contained in paragraph 188 of the

Complaint.
Case 23-00047-pmm         Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28         Desc Main
                                   Document      Page 19 of 30



        189.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 189 of the Complaint.

        190.    Answering Defendants admit the allegation contained in paragraph 190 of the

Complaint.

        191.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 191 of the Complaint.

        192.    Answering Defendants deny the allegation contained in paragraph 192 of the

Complaint.

        193.    Answering Defendants deny the allegation contained in paragraph 193 of the

Complaint.

        194.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 194 of the Complaint.

        195.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 195 of the Complaint.

        196.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 196 of the Complaint.

        197.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 197 of the Complaint.

        198.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 198 of the Complaint.

                     FIRST CLAIM – BREACH OF FIDCUIARY DUTY
                             (against the Insider Defendants)

        199.    Answering Defendants repeat and reallege their responses to paragraphs 1 through

198 hereof as if fully set forth herein at length.
Case 23-00047-pmm          Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28        Desc Main
                                    Document      Page 20 of 30



        200.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 200 of the Complaint.

        201.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 201 of the Complaint.

        202.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 202 of the Complaint.

        203.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 203 of the Complaint.

        204.    Answering Defendants deny the allegation contained in paragraph 204 of the

Complaint.

        205.    Answering Defendants deny the allegation contained in paragraph 205 of the

Complaint.

        206.    Answering Defendants deny the allegation contained in paragraph 206 of the

Complaint.

        207.    Answering Defendants deny the allegation contained in paragraph 207 of the

Complaint.

        208.    Answering Defendants deny the allegation contained in paragraph 208 of the

Complaint.

      SECOND CLAIM – AIDING & ABETTING BREACH OF FIDCUIARY DUTY
                          (against all Defendants)

        209.    Answering Defendants repeat and reallege their responses to paragraphs 1 through

208 as if fully set forth herein at length.

        210.    Answering Defendants deny the allegation contained in paragraph 210 of the

Complaint.
Case 23-00047-pmm         Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28        Desc Main
                                   Document      Page 21 of 30



       211.    Answering Defendants deny the allegation contained in paragraph 211 of the

Complaint.

       212.    Answering Defendants deny the allegation contained in paragraph 212 of the

Complaint.

       213.    Answering Defendants deny the allegation contained in paragraph 213 of the

Complaint.

       214.    Answering Defendants deny the allegation contained in paragraph 214 of the

Complaint.

       215.    Answering Defendants deny the allegation contained in paragraph 215 of the

Complaint.

       216.    Answering Defendants deny the allegation contained in paragraph 216 of the

Complaint.

       217.    Answering Defendants deny the allegation contained in paragraph 217 of the

Complaint.

       218.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 218 of the Complaint.

                           THIRD CLAIM – CORPORATE WASTE
                               (against the insider Defendants)

       219.    Answering Defendants repeat and reallege their responses set forth in paragraph 1

through 218 hereof as if fully set forth herein at length.

       220.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 220 of the Complaint.

       221.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 221 of the Complaint.
Case 23-00047-pmm         Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28         Desc Main
                                   Document      Page 22 of 30



       222.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 222 of the Complaint.

       223.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 223 of the Complaint.

                 FOURTH CLAIM PART A – DECLARATORY RELIEF
              (ALTER EGO AND/OR PIERCING THE CORPORATE VEIL)
                             (against all Defendants)

       224.    Answering Defendants repeat and reallege their responses set forth in paragraphs 1

through 223 hereof as if fully set forth herein at length

       225.    Answering Defendants deny the allegations contained in paragraph 225 of the

Complaint.

       226.    Answering Defendants deny the allegation contained in paragraph 226 of the

Complaint.

       227.    Answering Defendants deny the allegation contained in paragraph 227 of the

Complaint.

       228.    Answering Defendants deny the allegation contained in paragraph 228 of the

Complaint.

       229.    Answering Defendants deny the allegation contained in paragraph 229 of the

Complaint.

       230.    Answering Defendants deny the allegation contained in paragraph 230 of the

Complaint.

       231.    Answering Defendants deny the allegation contained in paragraph 231 of the

Complaint.
Case 23-00047-pmm          Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28         Desc Main
                                    Document      Page 23 of 30



        232.    Answering Defendants deny the allegation contained in paragraph 232 of the

Complaint.

        233.    Answering Defendants deny the allegation contained in paragraph 233 of the

Complaint.

        234.    Answering Defendants deny the allegation contained in paragraph 234 of the

Complaint.

        235.    Answering Defendants deny the allegation contained in paragraph 235 of the

Complaint.

                  CLAIM FOUR PART B – DECLARATORY JUDGMENT
                                (Successor Liability)
                              (against all Defendants)

        236.    Answering Defendants repeat and reallege their responses set forth in paragraphs 1

through 235 hereof as if fully set forth herein at length.

        237.    Answering Defendants deny the allegation contained in paragraph 237 of the

Complaint.

        238.    Answering Defendants deny the allegation contained in paragraph 238 of the

Complaint.

                               FIFTH CLAIM – UNJUST ENRICHMENT
                                     (Against All Defendants)

        239.    Answering Defendants repeat and reallege their responses to paragraphs 1 through

238 as if fully set forth herein at length.

        240.    Answering Defendants deny the allegation contained in paragraph 240 of the

Complaint.

        241.    Answering Defendants deny the allegation contained in paragraph 241 of the

Complaint.
Case 23-00047-pmm         Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28          Desc Main
                                   Document      Page 24 of 30



       242.    Answering Defendants deny the allegation contained in paragraph 242 of the

Complaint.

       243.    Answering Defendants deny the allegation contained in paragraph 243 of the

Complaint.

       244.    Answering Defendants deny the plaintiff’s entitlement to the relief sought.

                          SIXTH CLAIM – AN ACCOUNTING
                              (Against All Defendants)

       245.    The allegation contained in paragraph 245 of the Complaint does not require a

response.

                      SEVENTH CLAIM – CONSTRUCTIVE TRUST
                               (Against All Defendants)

       246.    The allegation contained in paragraph 246 of the Complaint does not require a

response.

                      EIGHTH CLAIM – BREACH OF CONTRACT
        (against Defendants Carey Parzych and Rittenburg, for Monetary Damages)
                 (against the Pilfering Entities, for a Declaratory Judgment)

       247.    Answering Defendants repeat and reallege their responses set forth in paragraphs 1

through 246 hereof as if fully set forth herein at length.

       248.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 248 of the Complaint.

       249.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 249 of the Complaint.

       250.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 250 of the Complaint.
Case 23-00047-pmm         Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28           Desc Main
                                   Document      Page 25 of 30



        251.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 251 of the Complaint.

        252.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 252 of the Complaint.

        253.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 253 of the Complaint

        254.    Answering Defendants deny the plaintiff’s entitlement to the relief sought.

        255.    Answering Defendants deny the plaintiff’s entitlement to the relief sought.

                        NINTH CLAIM – BREACH OF CONTRACT
                            (against Defendant Finland Leasing)


        256.    Answering Defendants repeat and reallege their responses to paragraphs 1 through

255 hereof as if fully set forth herein at length.

        257.    Answering Defendants deny the allegation contained in paragraph 257 of the

Complaint.

        258.    Answering Defendants deny the plaintiff’s entitlement to the relief sought

                   TENTH CLAIM – EQUITABLE SUBORDINATION
               (against Defendants AgTech VI LLC, EtOH Worldwide and Boyer)

        259.    Answering Defendants repeat and reallege their responses to paragraphs 1 through

258 hereof as if fully set forth herein at length.

        260.    Answering Defendants deny the allegation contained in paragraph 260 of the

Complaint.

        261.    Answering Defendants deny the the plaintiff’s entitlement to the relief sought

                              ELEVENTH CLAIM – TURNOVER
                                 Pursuant to 11 U.S.C. § 542
                                  (against all Defendants)
Case 23-00047-pmm         Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28          Desc Main
                                   Document      Page 26 of 30




        262.    Answering Defendants repeat and reallege their responses to paragraphs 1 through

261 hereof as if fully set forth herein at length.

        263.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 263 of the Complaint.

        264.    Answering Defendants deny the plainiff’s entitlement to the relief sought.

               TWELFTH CLAIM – AVOID AND RECOVERY OF POSTPETITION
                                    TRANSFERS
                        Pursuant to 11 U.S.C. §§ 549 and 550
                          (against the Best Bev Entities)

        265.    Answering Defendants repeat and reallege their responses to paragraphs 1 through

264 hereof as if fully set forth herein at length.

        266.    Answering Defendants deny the allegation contained in paragraph 274 of the

Complaint.

        267.    Answering Defendants deny the allegation contained in paragraph 267 of the

Complaint.

                       THIRTEENTH CLAIM – AVOIDANCE AND
                      RECOVERY OF PREFERENTIAL PAYMENTS
                          Pursuant to 11 U.S.C. §§ 547(b) and 550
                   (against Defendants Finland Leasing, ETP and Boyer)

        268.    Answering Defendants repeat and reallege their responses to paragraphs 1 through

267 hereof as if fully set forth herein at length.

        269.    Answering Defendants deny the allegation contained in paragraph 269 of the

Complaint.

        270.    Answering Defendants deny the allegation contained in paragraph 270 of the

Complaint.
Case 23-00047-pmm         Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28           Desc Main
                                   Document      Page 27 of 30



        271.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 270 of the Complaint.

        272.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 272 of the Complaint.

        273.    Answering Defendants deny the allegation contained in paragraph 273 of the

Complaint.

        274.    Answering Defendants deny the allegation contained in paragraph 274 of the

complaint.

        275.    Answering Defendants deny the allegation contained in paragraph 275 of the

Complaint.

        276.    Answering Defendants deny the allegation contained in paragraph 276 of the

Complaint.

        277.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 277 of the Complaint.

        278.    Answering Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 278 of the Complaint.

        279.    Answering Defendants deny the plaintiff’s entitlement to the relief sought.

                          FOURTEENTH CLAIM – AVOIDANCE AND
                        RECOVERY OF FRAUDULENT TRANSFERS
                              Pursuant to 11 U.S.C. §§ 548 and 550
                         (against Defendants Finland Leasing and ETP)

        280.    Answering Defendants repeat and reallege their responses to paragraphs 1 through

279 hereof as if fully set forth herein at length.

        281.    Answering Defendants deny the allegation contained in paragraph 281 of the

Complaint.
Case 23-00047-pmm        Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28            Desc Main
                                  Document      Page 28 of 30



       282.    Answering Defendants deny the allegation contained in paragraph 282 of the

Complaint.

       283.    Answering Defendants deny the allegation contained in paragraph 283 of the

Complaint.

       284.    Answering Defendants deny the allegation contained in paragraph 284 of the

Complaint.

       285.    Answering Defendants deny the allegation contained in paragraph 285 of the

Complaint.

       286.    Answering Defendants deny the allegation contained in paragraph 286 of the

Complaint.

                   ANSWERING DEFENDANTS’ STATEMENT PURSUANT TO
                    FEDERAL RULE OF BANKRUPTCY PROCEDURE 2012 (b)

       Answering Defendants dispute that this is a core proceeding and do not consent to the entry

of final judgments or orders by this Honorable Court.

                             FIRST AFFIRMATIVE DEFENSE

       The Complaint fails to state a claim upon which relief can be granted as to the Answering

Defendants.

                              SECOND AFFIRMATIVE DEFENSE

       To the extent that they relate to the Answering Defendants and arise under §§547 and 550

of the Bankruptcy Code, the transfers described in the Complaint are not avoidable or recoverable

because such transfers were (a) made in the ordinary course of business or financial affairs of the

Debtor and the applicable defendant prevailing at the time or times of such transfers, and (b) made

in the ordinary course of business and financial affairs of such parties within the meaning of

§547(c)(2)of the Bankruptcy Code.
Case 23-00047-pmm         Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28           Desc Main
                                   Document      Page 29 of 30



                              THIRD AFFIRMATIVE DEFENSE

       To the extent that they relate to the Answering Defendants and arise under §§547 and 550

of the Bankruptcy Code, the transfers described in the Complaint are not avoidable or recoverable

because, after such transfers, the Answering Defendants gave new value to or for the benefit of the

Debtor in the form or new or continuing services which conferred a material and substantial benefit

upon the Debtor within the meaning of §547(c)(4) (A) and (B).

                                FOURTH AFFIRMATIVE DEFENSE

       To the extent that they relate to the Answering Defendants and arise under §§544, 548 or

550 of the Bankruptcy Code, the transfers described in the Complaint are not avoidable or

recoverable by reason of the fact that the Answering Defendants provided equivalent consideration

in exchange therefor, such transfers were not made with the intent to hinder, delay or defraud

creditors, such transfers did not render the Debtor insolvent and were not made while the Debtor

was insolvent.

       Answering Defendants demand strict proof of insolvency with respect to the avoidance and

recovery of any transfer as to which a statutory presumption of insolvency does not exist.

       WHEREFORE, Defendants, Gary Parzych, Ryan Uszenski, Can Man, LLC, Finland

Leasing Co, Inc. and Eugene Parzych, Inc., demand judgment dismissing the Complaint, with

prejudice, together with such other and further relief as is just and proper.
Case 23-00047-pmm     Doc 46     Filed 09/03/24 Entered 09/03/24 10:29:28     Desc Main
                               Document      Page 30 of 30



Dated: September 3, 2023                KURTZMAN | STEADY, LLC



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